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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.       EDCV 17-2514 JGB (SHKx)                             Date August 27, 2020
   Title Raul Novoa et al. v. The GEO Group


   Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                 MAYNOR GALVEZ                                         Not Reported
                   Deputy Clerk                                       Court Reporter


      Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                   None Present                                        None Present

   Proceedings:      Order DENYING Defendant The GEO Group’s Ex Parte Application to
                     Extend Certain Deadlines (Dkt. No. 300) (IN CHAMBERS)


         Before the Court is Defendant’s ex parte application to extend the deadlines for expert
  rebuttal, discovery cut-off, summary judgment motions, and non-discovery motion cut-off, filed
  on August 21, 2020. (“Application,” Dkt. No. 300.) Plaintiffs filed an opposition on August 23,
  2020. (Dkt. No. 301.) On August 24, 2020, the Court held a telephonic conference on the
  Application and the trial schedule. After considering arguments from both parties, the Court
  DENIES the Application. While Defendant failed to show ex parte relief is warranted,1 it may
  renew its request through a regular noticed motion. The Court directs the parties to meet and
  confer with respect to a possible briefing schedule.


  IT IS SO ORDERED.




          1
           Defendant failed to show its case will be irreparably damaged if the underlying motion to
  extend deadlines is heard according to regular motion procedures, or that it is without fault in
  creating the conditions requiring ex parte relief. See Mission Power Eng'g Co. v. Cont'l Cas. Co.,
  883 F. Supp. 488, 492 (C.D. Cal. 1995).

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